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                                            UNITED STATES DISTRICT COURT
                                                             for the
                                                  Northern District of New York
                                                            )
  UNITED STATES OF AMERICA                                  )
                                                            )
                           v.                            )        Case No.     I:21-MJ- 5 11- l'0 J _s
                                                        )
  CHRISTOPHER PENCE,                                    )
                                                        )
                                                        )
                           Defendant                    )

                                                 CRIMINAL COMPLAINT

          1, the complainant in this case, state that the following is true to the best of my knowledge and belief. On

or about the dates of July 16 and August 9, 2021, in the county of Rensselaer in the Northern District of

New York the defendant violated:

                   Code Section                                            Offense Description
                18 U.S.C. § I 958(a)                   Use of Interstate Commerce Facilities in the Commission of
                                                                            Murder-For-Hire



 This criminal complaint is based on these facts:
See attached affidavit.
  igi     Continued on the attached sheet.


                                                                                ainant 's signature
                                                                     Brian M. DeCarr, FBI Special Agent
                                                                             Printed name and title

Attested to by the affiant in accordance with Rule 4.1 of the Fed

Date:      October 27, 202 J


City and State:          Albany, N. Y.                          Hon. Daniel J. Stewart, U.S. Magistrate Judge
                                                                           Printed name and title
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                    AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAJNT

           I, Brian M. Decarr, being duly sworn, depose and state that:

                                            INTRODUCTION

            1.     I am a Special Agent with the Federal Bureau oflnvestigation (FBI), and have been

    so employed since January 2020. I am currently assigned to the Albany, New York Field Office.

    My current duty assignment is with the Capital District Safe Streets Task Force in Albany. In that

    assignment, I work with federal, state, and local law enforcement agents and officers in

    investigating criminal activities such as violent crime and transnational organized crime. Prior to

    my employment with the FBI, I was a New York State Trooper from May 2018 until January 2020,

    and was a Police Officer for the Pentagon Force Protection Agency from June 2017 until May

    2018. I have participated in the execution of numerous warrants involving the search and seizure

    of financial records, computers, computer equipment, software, and electronically stored

    infonnation.

            2.     I am an investigative or law enforcement officer of the United States within the

    meaning of Title 18, United States Code, Section 25 I0(7) - that is, an officer of the United States

    who is empowered by law to conduct investigations of offenses enumerated in Title I8, United

    States Code, Section 2516(1). Accordingly, I am authorized to seek criminal complaints for Title

    18 criminal offenses, including offenses related to Title 18 U.S.C. § 1958(a) (Use of Interstate

    Commerce Facilities in the Commission of Murder-For-Hire), which statute provides in pertinent

    part that:

            "Whoever... uses ... any facility of interstate or foreign commerce, with intent that
            a murder be committed in violation of the laws of any State or the United States as
            consideration for the receipt of... anything of pecuniary value [is guilty of a                IE
            crime]."

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      3.      I make this affidavit from personal knowledge based on my participation in this

investigation, including victim interviews, witness interviews and review of reports by myself

and/or other law enforcement agents, communication with others who have personal knowledge

of the events and circumstances described herein, records received in response to search warrants

and grand jury subpoenas, and infonnation gained through my training and experience.

       4.      The information outlined below is provided for the limited purpose of establishing

probable cause for a criminal complaint, and does not contain all details or all facts known to me

regarding this investigation.

                                     PROBABLE CAUSE

                                          Background

       5.      On September 2, 2021, the FBI Albany Field Office received infonnation from the

FBI Knoxville Fiel~ Office regarding information received from a confidential source that

included communications purportedly retrieved from a Darknet website accessible via The Onion

Router (TOR) network depicting a user of the website paying approximately $16,000 worth of the

cryptocWTency Bitcoin in exchange for the killing of two individuals who reside in Hoosick Falls,

New York.

                                      Confidential Source

       6.      The FBI confidential source, who is cooperating voluntarily and has received

payments solely to offset incurred costs, has previously provided records of communications and

payments received from an individual with access to the Darknet website, which subsequent FBI

investigations confinned depicted actual attempts to hire "bitmen.. to kill real individuals using

the same Darknet website.



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                                                                                                             -
                           Content of Communications over the Dark.net Website

            7.      In this case, the retrieved communications, which occurred between July 16 and

     August 9, 202 J, depict an anonymous user interacting on the Darknet website with another user

     and a site administrator to arrange the killing of the two above-referenced individuals in exchange

     for what was approximately $16,000 worth of Bitcoin. The anonymous user provided the site

     administrator with the names, address and photographs of the intended victims, as well as the

     manner in which the killing should take place. Specifically, the user advised that the killing should

     be made to look like an accident or botched robbery, and that, if possible, care should be taken to

     not hann any _of the three children known to be in the case of the intended victims.

            8.      In the course of the Darknet website communications, the anonymous user is

     depicted transferring the requested approximately $16,000 worth of Bitcoin in a series of payments

     to the site administrator using various means, including a cryptocurrency wallet service, which

    advertises itself as means for shielding cryptocurrency transfers from financial surveillance of the

    cryptocurrency's blockchain.

                                          The Bitcoin Transactions

            9.      The Bitcoin transactions depicted in the Darknet website communications provided

    certain infonnation regarding the aforementioned wallet and other cryptocurrency exchanges

    being used for the transaction, such that the FBI National Cyber Investigative Joint Task Force

    (NCIJTF), was able to identify the cryptocurrency exchanges used to make the Bitcoin payments

    to the wallet which was used to make the payments to the Darknet website based on certain

    identifiers associated with the transactions.

           I0.     An exigent request for infonnation associated with the account was submitted to

    one of the cryptocummcy exchanges, which complied with the request, as well as a subsequent

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grand jury subpoena, and was able to provide subscriber information for the account user, as well

as a detailed record of the funds transferred in and out of the account and IP logins associated with

the user's transactions.

                               Cl)'ptocurrency Account Information

        11.    The subscriber infonnation in the cryptocurrency exchange account identified

CHRISTOPHER PENCE as the account holder (including his date of birth and social security

number), along with additional user-provided infonnation, including the address 2929 South 6S00

West Cedar City, Utah 94720 (hereinafter, "PENCE's residence,,), PENCE's email and cellular

phone number, a linked bank account at the Boeing Employee Federal Union (BECU) in PENCE's

name, and PENCE's Utah driver's license number. PENCE's identity was verified by the

cryptocurrency exchange via the Utah driver's license which included a photograph of PENCE.

                                        Analysis of IP Logins

        12.     Analysis of the IP addresses associated with the transactions conducted by the user

of the cryptocurrency exchange account revealed that the IP address assigned to the user of the

account for 66 out of the 67 transactions that logged the user's IP address was 70.34.1 S.207, which

is an IP address assigned by the internet service provider lnfoWest (headquartered at 43S East

Tabernacle Street St. George, UT 84770). These logged transactions included three of the

transactions that corresponded with the dates, times and amounts that deposited Bitcoin into the

wallet that sent the payments to the Darknet website. Responsive records received from Info West

in response to a grand jury subpoena revealed that the above IP addresses is static, and has been

assigned exclusively to an account with PENCE as the subscriber and PENCE's residence as the

location of the service. The service has been provided to PENCE's residence since November

2020, and is currently in effect.

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       13.     The only other IP addresses associated with a logged transaction according to the

cryptocurrency excha~ge 's records - which happened to be a Bitcoin deposit - was an lP address

that was assigned by Verizon Wireless. Responsive records received from Verizon Wireless in

response to a grand jury subpoena revealed that the IP address in question was, and currently

remains, assigned to an account whose subscriber is PENCE with PENCE's residence as the

subscriber's residential address.

                             lnfonnation Provided by Intended Victims

        14.    On September 3, 2021, your affiant interviewed the intended victims. The

interviews corroborated the information received from the confidential source and from the

investigative work done by FBI to the extent that the intended victims matched the descriptions

and photographs provided by the Darknet user, had the same number of children, and resided at

the location described.

        I 5.   Additionally, the interviews revealed a motive for PENCE, specifically that, among

other things, PENCE's family had legally adopted five of the intended victims' children, and that

there was an escalating dispute between the two families such that the intended victims desired to

regain custody of their children and were involved in the reporting of PENCE's family to local

child welfare authorities, both of which reportedly angered PENCE. Furthennore, PENCE and

the intended victims did not agree on how the children should be raised or the personal choices

and lifestyle of the intended victims.

       16.     Furthermore, the intended victims recognized the photographs that the anonymous

user of the Darknet provided to the Darknet website as part of the placement of the order for the

kUling of the intended victims, in that the photographs were reportedly the same as those provided



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        by the intended victims to PENCE and his family for use as a " baby book," with the intended

        victims' children, several of whom had been adopted by PENCE.

                                      Interview of CHRISTOPHER PENCE

                17.     On October 27, 2021, investigators executed a federal search warrant on PENCE's

        residence in Cedar City, Utah, seeking to seize electronic devices and other evidence. While the

        warrant was being executed, investigators conducted a non-custodial, recorded interview with

        PENCE. In that interview, PENCE admitted inter alia: (1) that he was the user of the Darknet

        website depicted in the retrieved communications; (2) that he accessed the Darknet website using

      a computer connected to the Internet for the purpose of soliciting the killing of the intended

      victims; (3) that he used the photographs of the intended victims that he retrieved fi-om the above-

   referenced "baby book," and (4) that he arranged the payment ofapproximately $16,000 in Bitcoin

   payments to the Dark.net site via the above-referenced bank account, crypto currency exchange

   and wallet identified by the FBI.




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                                      CONCLUSION

       l 8.   Based on the foregoing, your affiant submits that there is probable cause to

conclude that CHRISTOPHER PENCE violated Title§ 1958(a) (Use of Interstate Commerce

Facilities in the Commission of Murder-For-Hire) from July 16 through August 9, 2021.

                                                   Attested to by the a



                                                                 a
                                                   Special Agent
                                                   Federal Bureau of Investigation


I, the Honorable Daniel J. Stewart, United States Magistrate Judge, hereby acknowledge that
this affidavit was attested by the affiant by telephone on October 27, 2021, in accordance
with     e 1 of the Federal Rules of Criminal Procedure:




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